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                         THE WEINSTEIN GROUP, P.C.

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                                                                         December 6, 2024

Grace Song, Esq.
Lewis Brisbois
77 Water Street, 21st Floor
New York, New York 10005

                       Re:     Yitzhak, et al v. Verner, et al.
                               1:23-cv-02084-MMG-OTW

Dear Attorney Song:

     The undersigned has received Defendants’ incredibly tardy response dated
December 4, 2024 and it is clear that the Defendants are continuing to play games.

      As you know, the documents provided were not identified in any meaningful
way to discern which document produced applies to which response. The pages are
not grouped in any intelligible fashion, nor are there even electronic folders that
group the responses. Moreover, not only do the responses not respond to the original
demands, they do not even comport with the letter of October 24, 2024, which you
ignored.

      I note that you included hundreds of pages of transcripts, none of which were
requested, in an obvious attempt to bulk up and make the production look more
substantive. However, the net result is the opposite; it is clear that your client is
withholding information and producing a large quantity of documents, but there was
preciously little quality in the same. An easy example of this is the production of
transcript pages, but failure to attach those attachments referenced in the emails
provided.

      My client still sees no good faith effort by Defendants to comply with their
discovery obligations and notes your clients’ continuing default in cooperating with
discovery and the Court’s Order concerning the same.

                                                Very truly yours,

                                                THE WEINSTEIN GROUP, P.C.



                                                LLOYD J. WEINSTEIN, Esq.
